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UNITED STATES BANKRUPTCY COURT iia
MIDDLE DISTRICT OF GEORGIA ide District oF Georgia

IN RE: Bankruptcy Case No. 22-50035-AEC

TERI GALARDI

DEBTOR(S) Adv. Proceeding No. 24-AP-5015-AEC
CHRISTOPHER KOSACHUK

ALL DOCUMENTS REGARDING THIS MATTER
MUST BE IDENTIFIED BY BOTH ADVERSARY AND
BANKRUPTCY CASE NUMBERS

PLAINTIFF
MICHAEL "MUTEPE" AKEMON, ESQ,
ASTRID E. GABBE, ESQ. ET. AL.

DEFENDANT

CERTIFICATE OF SERVICE OF
SUMMONS IN A BANKRUPTCY CASE

I, Carol Kosachuk , certify that | am , and at all times during the service of process was, not less than 18 years of age
and not a party to the matter concerning which service of process was made. | further certify that the service of this summons
and a copy of the complaint was made on [date] July 31, 2024 by:

[V mai Service: Regular, first class U.S. Mail, postage fully pre-paid, addressed to:
Astrid E. Gabbe, Esq, 6531 Grant Court, Hollywood, FL 33024 and via certified mail return receipt

requested, see attached for tracking numbers, enyelope covers and receipt
[ |pet’ al sted. 5 By leaving the process with defendant or with an otticer or agent of defendant at:

[_Jresidence Service: By leaving the process with the following adult at:
[_Jpubtication: The defendant was served as follows: [Describe briefly]

[_|state Law: The defendant was served pursuant to the laws of the State of as follows: [Describe briefly]

Under penalty of perjury, I declare that the foregoing is true and correct.

9 f (} j /)
August 3, 2024 | BPA { ADLLL Ai
Date Signature__. ~

Print name, business address, city, state and zip code:
Carol Kosachuk
854 Pheasant Run Rd
West Chester, PA 19382-8144

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FAQs >

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Latest Update

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Get More Out of USPS Tracking:
USPS Tracking Plus®

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FAQs >

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Latest Update

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was left because an authorized recipient was not available. You may arrange redelivery by using the
Schedule a Redelivery feature on this page or may pick up the item at the Post Office indicated on the
notice beginning August 5, 2024. If this item is unclaimed by August 18, 2024 then it will be returned to

sender.

Get More Out of USPS Tracking:
USPS Tracking Plus®

Delivery Attempt: Action Needed
Notice Left (No Authorized Recipient Available}

HOLLYWOOD, FL 33024
August 3, 2024, 3:37 pm

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August 3, 2024, 8:22 am

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@ See All Tracking History

What Do USPS Tracking Statuses Mean’? (nttps://faq.usps.com/s/article/Where-is-my-package)

Text & Email Updates

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Track Another Package

Enter tracking or barcode numbers

Need More Help?

Contact USPS Tracking support for further assistance.

FAQs

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